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                      GREGORY C. CORDREY’S BAR ADMISSIONS

             DATE                                       COURT

 November 25, 1997        United States Court of Appeals for the Ninth Circuit

 December 8, 1997         United States District Court - Central District of California

 April 21, 1998           United States District Court - Southern District of California

 December 8, 1998         United States District Court - District of Arizona
                          (admitted pro hac vice)

 September 15, 2000       United States District Court - Northern District of California

 November 23, 2004        United States Court of Appeals for the Federal Circuit

 December 2007            United States District Court - Western District of Wisconsin
                          (admitted pro hac vice)

 2011                     United States District Court – District of Massachusetts
                          (admitted pro hac vice)

 May 11, 2011             United States District Court – Eastern District of California

 March 11, 2013           United States District Court – Eastern District of Texas

 February 2021            United States District Court - District of Delaware
                          (admitted pro hac vice)

 January 2022             United States District Court - Southern District of New York
                          (admitted pro hac vice)

 June 2022                United States District Court - Northern District of Florida
                          (admitted pro hac vice)




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